              Case 2:17-cr-00207-KJM Document 50 Filed 03/29/19 Page 1 of 2


 1 LAW OFFICE OF DAVID GARLAND
   David Garland, Bar # 223679
 2 455 Capitol Mall, Ste. 802
   Sacramento, CA 95814
 3 Telephone: (916) 366-1069
   Fax: (916)476-4023
 4
 5 Attorneys for Defendant
   DONALD EARL FREEMAN JR.
 6

 7
                                IN THE UNITED STATES DISTRICT COURT
 8
                                   EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                         CASE NO. 2:17-CR-00207-MCE
11                               Plaintiff,            STIPULATION AND ORDER CONTINUING
                                                       JUDGMENT AND SENTENCING AND
12                         v.                          MODIFYING SCHEDULE FOR DISCLOSURE OF
                                                       PRE-SENTENCE REPORT
13   DONALD EARL FREEMAN JR.,
                                                       DATE: JUNE 6, 2019
14                               Defendant.            TIME: 10:00 a.m.
                                                       COURT: Hon. Morrison C. England, Jr.
15
16                                              STIPULATION
17          Defendant, by and through his counsel of record, hereby requests a continuance of his Judgment
18 and Sentencing hearing, currently set for March 28, 2019, to June 6, 2019. The United States and the
19 Probation Office have no objection to the requested continuance. The parties hereby stipulate and
20 request the Schedule for Disclosure of Pre-Sentence Report and for filing of Objections to the Pre-
21 Sentence report be modified as follows:
22
     Reply or statement of non-opposition:                                     05/30/2019
23
   Formal Objections to the Presentence Report shall be filed with the Court
24 and served on the Probation Officer and opposing counsel no later than:
                                                                               05/23/2019
25
26 The Pre-Sentence Report shall be filed with the court and
   disclosed to counsel no later than:                                         05/16/2019
27
   ///
28
   ///
      \                                               1
30
              Case 2:17-cr-00207-KJM Document 50 Filed 03/29/19 Page 2 of 2

   Counsel’s written objections to the Pre-Sentence Report shall be
 1 delivered to the Probation Officer and opposing counsel no later than:     05/09/2019
 2
           IT IS SO STIPULATED.
 3
 4
     Dated: March 21, 2019                                 /s/ DAVID GARLAND
 5                                                         DAVID GARLAND
                                                           Counsel for Defendant
 6
                                                           DONALD EARL FREEMAN
 7                                                         JR.

 8
     Dated: March 21, 2019                                 McGREGOR W. SCOTT
 9                                                         United States Attorney

10                                                         /s/ ROSANNE L. RUST
                                                           ROSANNE L. RUST
11                                                         Assistant United States Attorney

12
13
                                                   ORDER
14
           IT IS SO ORDERED.
15
     Dated: March 28, 2019
16
17
18
19
20
21
22
23
24
25
26
27

28

      \                                                2
30
